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 15
                           UNITED STATES DISTRICT COURT
 16
                         CENTRAL DISTRICT OF CALIFORNIA
 17
                                  WESTERN DIVISION
 18
 19   BLACK HILLS MEDIA, LLC,               Master Case No. 13-CV-5980-SJO (PJWx)
 20               Plaintiff,                Coordinated with Case Nos.: 13-CV-6054
 21         v.                                                          13-CV-6062
 22   (1) PIONEER CORPORATION and           DEFENDANTS’ MEMORANDUM OF
      PIONEER ELECTRONICS (USA)             POINTS AND AUTHORITIES IN
 23   INC., (2) YAMAHA                      SUPPORT OF MOTION TO DISMISS
      CORPORATION OF AMERICA,               FOR LACK OF STANDING
 24   and (3) SONOS INC.,
 25               Defendants in             [Fed. R. Civ. P. 12(b)(1)]
                  coordinated cases.
 26                                         Date: Monday, January 13, 2014
 27                                         Time: 10:00 a.m.
                                            Place: Courtroom of Hon. S. James Otero
 28
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  1   I.    INTRODUCTION
  2         This is a patent case. Black letter patent law requires that a plaintiff own a
  3   patent before filing suit. It is now uncontroverted that Plaintiff Black Hills Media
  4   LLC did not own the Patents in Suit when it filed the above-captioned lawsuits on
  5   May 22, 2012. Accordingly, this Court lacks jurisdiction over these cases and is
  6   required to dismiss them under Fed. R. Civ. P. 12(b)(1).
  7         This is a court of limited jurisdiction which only has subject matter
  8   jurisdiction over patent cases by virtue of statute. Under the Patent Act (see 35
  9   U.S.C. §§ 100(d) and 281), the rule has long been that a patentee must own the
 10   asserted patent(s) when a case is filed, and an ownership deficiency cannot be
 11   corrected after filing. Whatever the stage of the litigation — even after trial — a
 12   case must be dismissed if the plaintiff did not own the patent(s) when it filed suit.
 13   This issue cannot be waived and dismissal is not discretionary.
 14         When this litigation was initially filed in Delaware, Plaintiff alleged that it
 15   “owns” each of the Patents in Suit. As it turns out, that was not true. Plaintiff did
 16   not secure ownership of the Patents in Suit until (at least) July 23, 2012, two
 17   months after filing suit. Accordingly, this case is void ab initio.
 18         Defendants have addressed this threshold issue as expeditiously as possible
 19   under the circumstances. While Defendants suspected something might be amiss
 20   when the cases were still in Delaware, Plaintiff’s former counsel claimed
 21   “disparage[ment]” when the ownership question was raised in a court filing.
 22         The ownership issue only came to a head during the November 12, 2013
 23   Scheduling Conference before this Court. And Defendants were only able to
 24   confirm that Plaintiff did not own the Patents in Suit when the case was filed
 25   following Plaintiff’s recent “chain of title” filings that were ordered by the Court
 26   during the Scheduling Conference. Defendants then tried in vain to convince
 27   Plaintiff that the litigation must be dismissed, but Plaintiff refused to concede this
 28   undebatable legal point, requiring Defendants to bring this Rule 12(b)(1) motion.
                                                1
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  1   II.   BACKGROUND
  2         A.    Plaintiff Black Hills Alleged That It “Owns” The Asserted
                  Patents In Its Original Complaints
  3
            On May 22, 2012, Plaintiff Black Hills Media, LLC (referenced herein as
  4
      “Plaintiff” or “Black Hills”) initiated the above-captioned lawsuits in Delaware
  5
      against (1) Pioneer Corporation and Pioneer Electronics (USA) (“Pioneer”),
  6
      (2) Yamaha Corporation of America (“Yamaha”), and (3) Sonos Inc. (“Sonos”). 1
  7
            In its original Complaints in the Pioneer, Yamaha, and Sonos cases,
  8
      Plaintiff Black Hills claimed to own each of the asserted patents. In the Pioneer
  9
      and Yamaha cases, Plaintiff initially asserted three patents and made the following
 10
      allegation in the May 22, 2012 Complaints in those two actions:
 11
            Black Hills owns all of the rights and interests in United States
 12
            Patent Nos. 8,045,952 (the “’952 Patent”); 8,050,652 (the “’652
 13
            Patent”); and 6,985,694 (the “’694 Patent”) (collectively, the
 14
            “Patents in Suit”).
 15
      (Pioneer Dkt. No. 1 at ¶ 6; Yamaha Dkt. No. 1 at ¶ 6; emphasis added.) Plaintiff
 16
      asserted those same three patents and five others against Sonos, and made a
 17
      similar claim of present ownership in its May 22, 2012 Complaint in that case:
 18
            Black Hills owns all of the rights and interests in United States
 19
            Patent Nos. 8,045,952 (the “’952 Patent”); 8,050,652 (the “’652
 20
            Patent”); 6,985,694 (the “’694 Patent”); 7,742,740 (the “’740
 21
            Patent”); 6,757,517 (the “’517 Patent”); 7,236,739 (the “’739
 22
            Patent”); 6,826,283 (the “’283 Patent”); and 8,028,323 (the “’323
 23
            Patent”) (collectively, the “Patents in Suit”).
 24
      (Sonos Dkt. No. 1 at ¶ 6; emphasis added.) As it later turned out, Plaintiff’s
 25
      claims of ownership were untrue.
 26
            1
 27           Plaintiff filed a fourth Delaware lawsuit that same day against Logitech,
      Inc., which was dismissed on November 13, 2013 (see Logitech Dkt. No. 79).
 28
                                                2
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  1         B.     Plaintiff Filed First Amended Complaints In Delaware And
                   Waited Until The Last Moment To Effect Service
  2
            Plaintiff never served the original Complaints, but instead filed First
  3
      Amended Complaints in the Pioneer, Yamaha, and Sonos cases on September 12,
  4
      2012, adding three more patents to each lawsuit. In addition to the patents that
  5
      were asserted in the original Complaints, the First Amended Complaints alleged
  6
      infringement of U.S. Patent Nos. 6,108,686 (the “’686 Patent”), 8,230,099 (the
  7
      “’099 Patent”), and 8,214,873 (the “’873 Patent”). Plaintiff again alleged that
  8
      “Black Hills owns all of the rights and interests in” each asserted patent. (See
  9
      Pioneer Dkt. No. 3 at ¶ 6; Yamaha Dkt. No. 3 at ¶ 6; Sonos Dkt. No. 3 at ¶ 6.)
 10
      This time, Plaintiff’s ownership claim may have been legitimate, but as will be
 11
      discussed, that was too late — standing cannot be corrected retroactively.
 12
            Plaintiff appeared to have been in no hurry to litigate, waiting until almost
 13
      literally the last moment to serve. In fact, Plaintiff served the Summons and First
 14
      Amended Complaint on Yamaha on September 19, 2012 (see Yamaha Dkt. No.
 15
      6), which was exactly “120 days after the Complaint [was] filed” (which is the
 16
      “Time Limit for Service” under Fed. R. Civ. P. 4(m)).
 17
            C.     When The Ownership Issue Was Raised In A Delaware Court
 18                Filing, Plaintiff Claimed It Was Being Disparaged
 19         When Plaintiff filed the original Complaints on May 22, 2012, there were
 20   no recorded assignments for the Patents in Suit evidencing ownership by Black
 21   Hills. Then again, there is no requirement to record patent assignments with the
 22   U.S. Patent and Trademark Office (“PTO”). Thus, there was then no reason to
 23   question Plaintiff’s original Complaint allegations that “Black Hills owns all of
 24   the rights and interests in” the Patents in Suit.
 25         After Plaintiff filed and served the First Amended Complaints in September
 26   2012, a check of the PTO Assignment Database revealed that Plaintiff had
 27   recorded assignment agreements in the interim. While Defendants were then
 28   focused on challenging various pleading deficiencies (in Rule 12(b)(6) and 12(c)

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  1   motions filed with the Delaware court), and seeking to transfer the Delaware cases
  2   to the Central District of California (where each U.S. Defendant is physically
  3   located), the ownership issue was raised in a Delaware court filing, only to draw a
  4   claim of disparagement.
  5         Specifically, on January 22, 2013, Defendant Yamaha stated as follows in
  6   its Opening Brief in support of its Motion to Transfer Venue:
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19   (Yamaha Dkt. No. 15 at 4.) Rather than “own up” to the fact that there might be
 20   an issue, Plaintiff’s former counsel accused Yamaha of disparaging Plaintiff:
 21         … Yamaha further raises issues concerning Black Hills’ motives for
 22         bringing suit in Delaware and the ownership of some of the asserted
 23         patents. Aside from an obvious attempt to disparage Black Hills, it
 24         is unclear what these observations add to the question before the
 25         Court, which is whether this case should be transferred to the
 26         Southern Division of the Central District of California.
 27   (Yamaha Dkt. No. 20 at 1; emphasis added.)           Of course, the truth is not
 28   disparaging.

                                              4
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  1         D.     The Standing Issue Was Raised In Defendants’ Pleadings Before
                   And After The Cases Were Transferred From Delaware
  2
            In addition to raising the ownership issue during briefing of its transfer
  3
      motion (which was granted by the District of Delaware in an August 5, 2013
  4
      Order (see Yamaha Dkt. No. 31)), Yamaha asserted a “lack of standing” defense
  5
      in its Answers to the First and Second Amended Complaints (see Yamaha Dkt.
  6
      No. 29 at 10 and Dkt. No. 75 at 17), and Sonos did likewise in its Answer to the
  7
      Second Amended Complaint (see Sonos Dkt. No. 70 at 18-19).                Of course,
  8
      without discovery from Plaintiff on the ownership issue, Defendants were only
  9
      able to plead lack of standing based on “information and belief.”
 10
            E.     Plaintiff’s “Chain Of Title” Filings Have Now Confirmed That
 11                Plaintiff Did Not Own The Patents In Suit When It Filed Suit
 12         Defendants did not anticipate receiving discovery on the ownership issue
 13   until December 12, 2013 (the date the parties agreed to propose as the due date for
 14   Plaintiff’s N.D. Cal. Patent Rule 3-1 and 3-2 disclosures). Under N.D. Cal. Patent
 15   Rule 3-2(d), Plaintiff is required to produce “[a]ll documents evidencing
 16   ownership of the patent rights by the party asserting patent infringement.”
 17   However, this issue came to a head at the November 12, 2013 Scheduling
 18   Conference before this Court. As recounted in this Court’s Minute Order:
 19         At the November 12 Scheduling Conference, the Court ordered
 20         Plaintiff to disclose documents evidencing its ownership of the
 21         Patents-in-Suit by November 15, 2013, pursuant to Rule 26(a).
 22   (Pioneer Dkt. No. 103 at 2.)
 23         On November 15, 2013, Plaintiff filed a “Notice of Black Hills’ Chain of
 24   Title Regarding the Patents-in-Suit” (Pioneer Dkt. No. 100), which consisted of a
 25   chart purporting to show the “chain of title” for 11 out of the 12 Patents in Suit.
 26   In addition to omitting reference to the ’686 Patent in the chart, Plaintiff’s initial
 27   “chain of title” filing did not include any back-up documentation as noted by the
 28   Court in its subsequent Minute Order:

                                                5
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  1         [I]n this [initial] Notice of Chain of Title, Plaintiff only lists the past
  2         and present owners of the Patents-in-Suit. Plaintiff does not appear
  3         to have provided documents or other evidence demonstrating the
  4         validity of the claimed transfers of ownership to Plaintiff. Plaintiff
  5         must provide this evidence no later than November 25, 2013.
  6   (Pioneer Dkt. No. 103 at 3.)
  7         At the Court’s behest, Plaintiff then filed “Black Hills’ Amended Notice of
  8   Chain of Title Regarding the Patents-in-Suit” (Pioneer Dkt. No. 104) on
  9   November 25, 2013. This Amended Notice attached numerous agreements, and
 10   the “chain of title” chart now referenced the previously-omitted ’686 Patent.
 11         The revised “chain of title” chart in the Amended Notice included another
 12   conspicuous change. Whereas Plaintiff’s initial chart was riddled with “wholly
 13   owned by Black Hills” parentheticals (Pioneer Dkt. No. 100; emphasis added)
 14   when referencing certain previous assignees for each Patent in Suit (with the
 15   exception of the omitted ’686 Patent), the revised chart removed these
 16   parentheticals; as discussed below, this change appears to have been precipitated
 17   by Defendants raising this issue during the “meet and confer” process.
 18         Whether or not the Amended Notice is now complete (noting that Plaintiff
 19   has indicated that additional ownership documentation may be produced on
 20   December 12, 2013), Plaintiff’s “chain of title” filings at least confirm that Black
 21   Hills did not own any of the Patents in Suit when it filed suit on May 22, 2012.
 22         F.     Defendants Tried To Persuade Plaintiff That These Cases Must
                   Be Dismissed During A Thorough “Meet And Confer” Process
 23
            As detailed in the supporting Declaration of Martin M. Noonen, the parties
 24
      met and conferred on multiple occasions before Defendants filed this motion:
 25
            1.     After Defendants reviewed and digested Plaintiff’s initial “chain of
 26
      title” Notice (which was filed at 3:47 p.m. Pacific time on Friday, November 15),
 27
      Defendants contacted Plaintiff on the following Tuesday morning to request a
 28
                                                6
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  1   teleconference to discuss “Black Hill’s chain of title pleading and whether subject
  2   matter jurisdiction exists.” (See Noonen Decl., Exh. A.)
  3         2.     During the initial “meet and confer” teleconference on Wednesday,
  4   November 20, Plaintiff first informed Defendants that it had just received a call
  5   from the Court instructing Plaintiff to supplement its “chain of title” filing by
  6   November 25. Plaintiff then cited a 2007 Supreme Court decision (Rockwell) that
  7   it claimed to be controlling on the standing issue. Defendants raised the omission
  8   of the ’686 Patent in the initial chart as well as the dubious “wholly owned by
  9   Black Hills” parentheticals (which Plaintiff removed in its Amended Notice).
 10         3.     On Friday, November 22, Defendants contacted Plaintiff to arrange a
 11   second teleconference on November 26 to “discuss Black Hill’s forthcoming
 12   expanded chain of title pleading, and to further discuss whether subject matter
 13   jurisdiction exists[.]” (See Noonen Decl., Exh. A.)
 14         4.     During the second “meet and confer” on Tuesday, November 26,
 15   Defendants cited a Federal Circuit opinion (Central Pines) that distinguished
 16   Rockwell, and explained that Federal Circuit precedent both before and after
 17   Rockwell dictates that a plaintiff must own a patent at the inception of a lawsuit
 18   for there to be subject matter jurisdiction (as demonstrated by way of example in
 19   the Federal Circuit’s 2010 opinion in Abraxis).          In view of the ensuing
 20   Thanksgiving holiday, Plaintiff asked for an opportunity to review Defendants’
 21   authorities, and the parties agreed to reconvene early the following week.
 22         5.     During the third and final “meet and confer” teleconference on
 23   Tuesday, December 3, Plaintiff cited a Federal Circuit decision in a declaratory
 24   judgment case (Prasco) and a First Circuit decision in a copyright case
 25   (ConnectU) as purported support for what Defendants believe to be the untenable
 26   proposition that an ownership defect in a patent case can be corrected after filing.
 27   The parties confirmed that they were at an impasse, and Defendants are filing this
 28   motion after waiting the requisite seven days under C.D. Cal. Local Rule 7-3.
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  1   III.    THESE CASES MUST BE DISMISSED FOR LACK OF STANDING
  2           This motion presents a clear-cut legal issue. The relevant facts are few and
  3   uncontroverted. Plaintiff’s “chain of title” filings now confirm that “Black Hills”
  4   (i.e., Plaintiff) did not take ownership of any of the Patents in Suit any earlier than
  5   July 23, 2012, two months after Plaintiff filed its May 22, 2012 Complaints
  6   alleging that “Black Hills owns all of the rights and interests in” the Patents in
  7   Suit.
  8           As set forth below, when a plaintiff files suit for patent infringement
  9   without owning the patent(s) in suit, the plaintiff does not have standing, the court
 10   does not have jurisdiction, and the case must be dismissed. Defendants will first
 11   discuss the long-standing Federal Circuit jurisprudence that establishes this
 12   intractable rule, and will then distinguish the inapposite cases that Plaintiff has
 13   raised (i.e., Rockwell, Prasco, ConnectU) in the face of this controlling precedent.
 14           A.    Federal Circuit Precedent Requires Dismissal When A Plaintiff
                    Did Not Own The Patent(s) In Suit On The Date It Filed Suit
 15
              The requirement that a “patentee” own a patent before filing suit comes
 16
      from the Patent Act:
 17
              The Patent Act (the Act) provides that a “patentee” shall have
 18
              remedy by civil action for patent infringement. 35 U.S.C. § 281
 19
              (1994). The term “patentee” is defined in the Act under section
 20
              100(d) as including not only the patentee to whom the patent issued,
 21
              but the successors in title to the patentee.
 22
      Enzo APA & Son, Inc. v. Geapag A.G., 134 F.3d 1090, 1093 (Fed. Cir. 1998).
 23
              In Abraxis Bioscience, Inc. v. Navinta LLC, 625 F.3d 1359 (Fed. Cir. 2010),
 24
      the Federal Circuit summarized the ownership requirement in patent cases:
 25
              A court may exercise jurisdiction only if a plaintiff has standing
 26
              to sue on the date it files suit. Keene Corp. v. United States, 508
 27
              U.S. 200, 207, 113 S. Ct. 2035, 124 L. Ed. 2d 118 (1993) (There is a
 28
                                                  8
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  1         “longstanding principle that the ‘jurisdiction of the Court depends
  2         upon the state of things at the time of the action brought.’”) (internal
  3         citations omitted); Minneapolis & St. Louis R.R. v. Peoria & Perkin
  4         Union Ry. Co., 270 U.S. 580, 586, 46 S. Ct. 402, 70 L. Ed. 743
  5         (1926) (“The jurisdiction of the lower court depends upon the state of
  6         things existing at the time the suit was brought.”). Based upon this
  7         Supreme Court jurisprudence, we have held that in a patent
  8         infringement action, “the plaintiff must demonstrate that it held
  9         enforceable title to the patent at the inception of the lawsuit” to
 10         assert standing. Paradise Creations, Inc. v. UV Sales, Inc., 315
 11         F.3d 1304, 1309-310 (Fed. Cir. 2003); see also 35 U.S.C. §§ 100(d),
 12         281 (A “patentee” is entitled to bring a “civil action for infringement
 13         of his patent,” and the patentee includes the “successors in title to the
 14         patentee.”).   Thus, “if the original plaintiff lacked Article III
 15         initial standing, the suit must be dismissed, and the jurisdictional
 16         defect cannot be cured” after the inception of the lawsuit.
 17         Schreiber Foods, Inc. v. Beatrice Cheese, Inc., 402 F.3d 1198, 1203
 18         (Fed. Cir. 2005); Lans v. Digital Equip. Corp., 252 F.3d 1320, 1328
 19         (Fed. Cir. 2001) (affirming dismissal of complaint and denial of
 20         motion to amend pleadings to substitute assignee as plaintiff when
 21         plaintiff-inventor assigned the patent prior to filing the action).
 22   Id. at 1364 (emphasis added).
 23         Thus, under Federal Circuit precedent, “[b]ased upon … Supreme Court
 24   jurisprudence,” a patentee must own a patent when filing suit for infringement of
 25   such patent, and standing to file patent lawsuits cannot be conferred retroactively.
 26   Id.; see also Enzo, 134 F.3d at 1093 (“nunc pro tunc assignments are not
 27   sufficient to confer retroactive standing.”).
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  1         In Enzo, the Federal Circuit explained the rationale for the ownership
  2   requirement in patent cases:
  3         As a general matter, parties should possess rights before seeking to
  4         have them vindicated in court. Allowing a subsequent assignment to
  5         automatically cure a standing defect would unjustifiably expand the
  6         number of people who are statutorily authorized to sue.
  7   Id. at 1093-94 (quoting Procter & Gamble Co. v. Paragon Trade Brands Inc., 917
  8   F. Supp. 305, 310 (D. Del. 1995)). Here, Plaintiff did not possess rights in the
  9   Patents in Suit before seeking to have them vindicated in court.
 10                1.     Plaintiff Did Not Have Standing At The Inception Of
                          These Lawsuits, And Any Subsequent Assignment To
 11                       Black Hills Cannot Cure The Debilitating Standing Defect
 12         The only salient facts on this motion are provided in Plaintiff’s amended
 13   “chain of title” filing (Pioneer Dkt. No. 104). There, for each Patent in Suit,
 14   Plaintiff has confirmed that the plaintiff in this action (i.e., Black Hills Media,
 15   LLC) was not assigned any rights to any of the Patents in Suit until “7-23-2012”
 16   (i.e., July 23, 2012). 2   Because this is after the filing of the May 22, 2012
 17   Complaints in the above-captioned lawsuits, dismissal is mandated.
 18                2.     This Court Must Look At The Original Complaints To
                          Assess Compliance With The Standing Requirement
 19
            To the extent that Plaintiff contends that this Court should evaluate whether
 20
      Plaintiff had standing when it subsequently filed its amended complaints, the
 21
      Federal Circuit disposed of that argument in Abraxis:
 22
 23
 24
 25
            2
               Defendants reserve all rights to challenge whether Black Hills was
 26   legitimately assigned ownership of the Patents in Suit on July 23, 2012. For
 27   purposes of this motion, the only relevant (and incontrovertible) fact is that Black
      Hills did not have ownership before July 23, 2012.
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                                              10
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  1         While Abraxis filed an amended complaint on November 16, 2007,
  2         we look to the date of the original Complaint, March 15, 2007,
  3         because “the jurisdiction of the Court depends on the state of things
  4         at the time of the action brought.”
  5   625 F.3d at 1366 n.3 (quoting Keene, 508 U.S. at 207). Under Federal Circuit
  6   jurisprudence, “[t]he initial standing of the original plaintiff is assessed at the time
  7   of the original complaint, even if the complaint is later amended.” Schreiber
  8   Foods, 402 F.3d at 1202 n.3.
  9                3.     Owning An Entity That Owns A Patent Does Not Suffice
                          To Confer Standing
 10
            Finally, while it appears that Plaintiff had second thoughts about arguing
 11
      that the standing requirement could be satisfied if Black Hills owned the entities
 12
      that owned the Patents in Suit when the lawsuits were filed on May 22, 2012 —
 13
      reiterating that Plaintiff deleted the “wholly owned by Black Hills”
 14
      parentheticals from its “chain of title” chart when filing its Amended Notice
 15
      (compare Pioneer Dkt. Nos. 100 and 104) — that argument was also rejected by
 16
      the Federal Circuit in Abraxis:
 17
            Common corporate structure does not overcome the requirement that
 18
            even between a parent and a subsidiary, an appropriate written
 19
            assignment is necessary to transfer legal title from one to the other.
 20
            Without the transfer of legal title of the patents, Abraxis had no
 21
            standing to bring this infringement action. Lans, 252 F.3d at 1328
 22
            (holding that a plaintiff-inventor, who assigned his patent to a
 23
            corporation in which he was the sole shareholder and managing
 24
            director prior to filing the action, lacked standing to sue).
 25
      625 F.3d at 1366. Notably, Plaintiff deleted these parentheticals after the initial
 26
      “meet and confer” teleconference during which Defendants questioned Plaintiff
 27
      about how Black Hills could “wholly own[]” various assignees (see Pioneer Dkt.
 28
                                                11
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  1   No. 100), many of whom purportedly took title to the Patents in Suit well before
  2   Black Hills was established on April 3, 2012. (See Noonen Decl., Exh. B.)
  3         In any event, ownership of prior assignees is immaterial to standing. It was
  4   necessary for Black Hills to “own” the Patents in Suit when it filed suit, which it
  5   did not.
  6         B.     Plaintiff’s Authorities Are Inapposite To The Absolute
                   Ownership Requirement In Patent Cases
  7
            While Defendants will, of course, address Plaintiff’s Opposition arguments
  8
      in their Reply, Defendants are compelled to proactively distinguish the three
  9
      decisions raised by Plaintiff during the “meet and confer” process. As discussed
 10
      below, Plaintiff’s position is predicated on a sound bite from a 2007 Supreme
 11
      Court decision that may seem facially appealing, but which actually applies to the
 12
      “inverse” of the situation at bar.
 13
            As recounted above, Plaintiff cited Rockwell Int’l Corp. v. United States,
 14
      549 U.S. 457, 127 S. Ct. 1397, 167 L. Ed. 2d 190 (2007) during the parties’ first
 15
      “meet and confer” teleconference for the proposition that “when a plaintiff files a
 16
      complaint in federal court and then voluntarily amends the complaint, courts look
 17
      to the amended complaint to determine jurisdiction.” 549 U.S. at 473-74.
 18
            Initially, Plaintiff appears to have been grasping at straws in resorting to a
 19
      non-patent case, as Rockwell was a qui tam case. But more importantly, Rockwell
 20
      is otherwise distinguishable:
 21
            To the extent plaintiffs rely on the discussion in [Rockwell] to aid
 22
            their argument, that case is distinguishable. In that case, jurisdiction
 23
            existed when the case was filed and the question was whether the
 24
            amended complaint subsequently divested the court of jurisdiction;
 25
            here, plaintiffs argue the inverse.
 26
      Central Pines Land Co. v. United States, 697 F.3d 1360, 1365 n.3 (Fed. Cir.
 27
      2012) (emphasis added). As recognized by the Federal Circuit, Rockwell stands
 28
                                                  12
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  1   for the limited proposition that a court may be divested of jurisdiction by
  2   subsequent events, which is indeed the “inverse” of the issue before this Court on
  3   this motion.
  4         In Rockwell, the Supreme Court considered whether subject matter
  5   jurisdiction that was deemed to be established in the original qui tam complaint
  6   filed by a whistleblower against a government contractor under the False Claims
  7   Act was subsequently eliminated by either a joint “amended complaint” filed
  8   when the government intervened or the “final pretrial order that superseded all
  9   prior pleadings[.]” See 549 U.S. at 460, 474. In Rockwell, the issue before the
 10   Court was not whether plaintiff had standing when filing the original complaint.
 11         Importantly, Rockwell was analyzing the particular statute under which the
 12   qui tam action was filed (i.e., the False Claims Act), 3 and was not stating a
 13   general proposition that somehow applies to the specific requirement of patent
 14   ownership under the Patent Act (e.g., 35 U.S.C. §§ 100(d) and 281), which has
 15   been established and reinforced by the Federal Circuit before and after Rockwell.
 16         Notably, the above-discussed Abraxis opinion was issued by the Federal
 17   Circuit in 2010 — three years after Rockwell — yet Abraxis does not mention
 18   Rockwell; in fact, the Federal Circuit cited two other Supreme Court decisions as
 19   support for the above-quoted rule that “[a] court may exercise jurisdiction only
 20   if a plaintiff has standing to sue on the date it files suit.” Abraxis, 625 F.3d at
 21   1364 (citing Keene, 508 U.S. at 207 and Minneapolis & St. Louis R.R., 270 U.S.
 22   at 586) (emphasis added). Plaintiff’s Rockwell case is conspicuous by its absence
 23
 24         3
              “In our view, the term “allegations” is not limited to the allegations of the
 25   original complaint. It includes (at a minimum) the allegations in the original
      complaint as amended. The statute speaks not of the allegations in the “original
 26   complaint” (or even the allegations in the “complaint”), but of the relator’s
 27   “allegations” simpliciter.” Rockwell, 549 U.S. at 473 (italics in original;
      underlining added for emphasis).
 28
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  1   in Abraxis, and was not cited there for the simple reason that it is distinguishable
  2   (as subsequently recognized by the Federal Circuit in Central Pines).
  3         Unsurprisingly, Plaintiff’s other authorities, which both stem from
  4   Rockwell, are also wholly distinguishable. In Prasco, LLC v. Medicis Pharm.
  5   Corp., 537 F.3d 1329 (Fed. Cir. 2008), the Federal Circuit quoted the Rockwell
  6   sound bite in the context of a declaratory judgment action. See id. at 1337. Of
  7   course, in determining whether subject matter jurisdiction exists in an action for
  8   declaratory relief — irrespective of whether the subject matter is patents or
  9   otherwise — a court will analyze whether there is an “actual controversy” under
 10   the Declaratory Judgment Act (28 U.S.C. § 2201). 4
 11         The subject matter in ConnectU LLC v. Zuckerberg, 522 F.3d 82 (1st Cir.
 12   2008) was copyright. In that case, the First Circuit was tasked with deciding
 13   whether an amended complaint that switched the basis of subject matter
 14   jurisdiction from “diversity of citizenship” to “federal question” had to be given
 15   effect. See id. In a non-patent decision that is in no way binding on this Court,
 16   the First Circuit permitted the plaintiff to “switch[] jurisdictional horses” (id. at
 17   92) and cited Rockwell for support (id. at 91). ConnectU had nothing to do with
 18   patents or patent ownership.
 19         At least Prasco dealt with patents, although in the inverse declaratory relief
 20   context.   Notably, just before quoting the Rockwell sound bite and citing
 21   ConnectU, the Federal Circuit in Prasco quoted GAF Bldg. Materials Corp. v. Elk
 22   Corp., 90 F.3d 479 (Fed. Cir. 1996) for the proposition that “[l]ater events may
 23
 24         4
               In patent cases brought by an alleged infringer under the Declaratory
 25   Judgment Act, a court has subject matter jurisdiction only if “the facts alleged,
      under all the circumstances, show that there is a substantial controversy, between
 26   parties having adverse legal interests, of sufficient immediacy and reality to
 27   warrant the issuance of a declaratory judgment.” MedImmune, Inc. v. Genentech,
      Inc., 549 U.S. 118, 127, 127 S. Ct. 764, 166 L. Ed. 2d 604 (2007).
 28
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  1   not create jurisdiction where none existed at the time of filing[.]” Prasco, 537
  2   F.3d at 1337 (quoting GAF, 90 F.3d at 483).
  3         In the present case, notwithstanding Plaintiff’s untrue Complaint
  4   allegations that “Black Hills owns all of the rights and interests in” the Patents in
  5   Suit, jurisdiction did not exist at the time of filing. Plaintiff is thus trying to
  6   “create jurisdiction where none existed at the time of filing” by relying upon the
  7   “later event” of Black Hills being (purportedly) assigned the Patents in Suit on
  8   July 23, 2012.
  9         In GAF, “[i]t [was] undisputed that the ’144 patent had not issued when the
 10   original complaint was filed”; according to the Federal Circuit, “[t]he subsequent
 11   issuance of the ’144 patent did not cure this jurisdictional defect.” GAF, 90 F.3d
 12   at 483. In the present case, it is “undisputed” that the Patents in Suit were not
 13   assigned to Black Hills “when the original complaint was filed”; similar to GAF,
 14   the subsequent assignment of the Patents in Suit to Black Hills “did not cure this
 15   jurisdictional defect.”
 16         The present scenario does not present a case of a plaintiff “switching
 17   jurisdictional horses” as in ConnectU; here, Plaintiff’s basis for subject matter
 18   jurisdiction in the original Complaint was purported ownership of the Patents in
 19   Suit, and that basis has not changed in the First or Second Amended Complaints.
 20   This case is also not a declaratory relief action like Prasco, where different
 21   considerations apply. And it certainly isn’t a qui tam action where the Court is
 22   considering whether subject matter jurisdiction has been divested by later events
 23   where it existed at the time of filing as in Rockwell, which is the “inverse” origin
 24   of all of Plaintiff’s purported authorities.
 25         Plaintiff’s cases are inapposite to the absolute ownership requirement that
 26   has long been the rule in patent cases. While dismissal of an action for lack of
 27   jurisdiction may seem somewhat draconian a year-and-a-half into a case, the
 28   Federal Circuit has dismissed cases for lack of standing at much more advanced
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  1   stages — even after trial. See, e.g., Abraxis, 625 F.3d at 1368 (where the Federal
  2   Circuit “reverse[d] the denial of the motion to dismiss the infringement complaint
  3   for lack of standing, vacate[d] the district court's judgment, and remand[ed] with
  4   instructions for the district court to dismiss Abraxis’s complaint without
  5   prejudice” after a seven-day bench trial and district court judgment in favor of
  6   plaintiff). Accord Enzo, 134 F.3d at 1094.
  7          As in Abraxis and Enzo and other cases where the purported “patentee” did
  8   not own the asserted patent(s) when filing suit, dismissal is required here.
  9   IV.    CONCLUSION AND DISCUSSION OF PROPOSED ORDER
 10          Plaintiff Black Hills did not own the Patents in Suit when it filed the
 11   Complaints in these lawsuits. That fact is undisputed. Accordingly, Plaintiff did
 12   not have standing and these cases must be dismissed for lack of jurisdiction as a
 13   matter of Federal Circuit law under Fed. R. Civ. P. 12(b)(1).
 14          This motion is not intended to cast aspersions on Plaintiff’s current counsel
 15   who were not the attorneys who filed these lawsuits without first confirming that
 16   Plaintiff “own[ed]” the Patents in Suit (as alleged in the Complaints). Moreover,
 17   giving Plaintiff’s former counsel the benefit of the doubt, Defendants assume this
 18   may have been a mistake. However, under controlling precedent, an ownership
 19   defect at the inception of a patent case is not a mistake that can be cured.
 20          While Plaintiff’s current counsel was not responsible for any initial mistake
 21   here — and they were also not the attorneys who tried to “cure” the standing
 22   defect before filing First Amended Complaints — they have perpetuated this issue
 23   by filing Second Amended Complaints and then refusing to concede the legally
 24   obvious point that these cases are void ab initio in view of Plaintiff’s “chain of
 25   title” filings.
 26          Defendants have not only had to defend lawsuits that were improperly filed,
 27   but because Plaintiff’s current counsel has not acquiesced in the face of Federal
 28   Circuit precedent, they have now incurred the cost of filing a motion that should
                                               16
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  1   not have needed to be filed. Whatever the motivation for Plaintiff’s intransigence
  2   on the standing issue, dismissal is required and Defendants believe that they are
  3   entitled to attorneys’ fees.
  4         Of course, if these cases are dismissed and then re-filed here, it will be
  5   incumbent to revisit the case schedule, and a stay of at least the Yamaha and
  6   Pioneer cases in view of Yamaha’s pending Petitions for Inter Partes Review
  7   (“IPRs”) would seem to be in order for the reasons discussed at the November 12
  8   Scheduling Conference (noting Pioneer’s subsequent agreement to be bound by
  9   the final written decisions in the IPRs if the litigation is stayed pending inter
 10   partes review (see Pioneer Dkt. No. 99)).
 11         Because Defendants will be greatly prejudiced if Plaintiff misuses its own
 12   procedural misstep to re-file in an inconvenient venue — especially given the
 13   expense incurred in transferring these cases to the present, appropriate venue —
 14   Defendants respectfully offer the proposed conditions set forth in the Proposed
 15   Order for the Court’s consideration at its discretion, while respectfully reiterating
 16   that dismissal of these cases is not discretionary under Fed. R. Civ. P. 12(b)(1).
 17                                          Respectfully submitted,
 18
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